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EXHIBIT “A”
Case 0:20-cv-60883-AHS Document 1-1 Entered on FLSD Docket 05/01/2020 Page 2 of 19

NATIONAL REGISTERED AGENTS, INC.
SERVICE OF PROCESS SUMMARY TRANSMITTAL FORM
To: Jeffrey McGonegal

Riot Blockchain, Inc. i
202 6TH ST STE ant SOP Transmittal # 537529117

CASTLE ROCK, CO 80104-1724
800-592-9023 - Telephone

Entity Served: Riot Blockchain, Inc. (Domestic State: NEVADA) (Served as RIOT BLOCKCHAIN INC., Dft. // To: RIOT
BLOCKCHAIN INC. Name discrepancy noted.)

Enclosed herewith are legal documents received on behalf of the above captioned entity by National Registered Agents, Inc. or its Affiliate
in the State of NEVADA on this 13 day of April, 2020. The following is a summary of the document(s) received:

1. Title of Action; KASHWISE GLOBAL FUNDING SOLUTIONS INC., Pltf. vs. RIOT BLOCKCHAIN INC., Dft. // To:
RIOT BLOCKCHAIN INC,

2. Document(s) Served: Other: -
3. Court of Jurisdiction/Case Number: None Specified

Case # NONE
4, Amount Claimed, if any: N/A
5. Method of Service:
_X_ Personally served by: _X_ Process Server ___ Law Enforcement _._, Deputy Sheriff ___ U.S Marshall
____ Delivered Via: ___ Certified Mail ____ Regular Mail __. Facsimile

__ Other (Explain):
6. Date and Time of Receipt: 04/13/2020 11:43:00 AM CST
Appearance/Answer Date: None Specified
8. Received From: None Specified 9. Carrier Airbill # 1ZY041160196146114

x

10. Call Made to: Not required

11. Special Comments:
SOP Papers with Transmittal, via UPS Next Day Air

NATIONAL REGISTERED AGENTS, INC. CopiesTo:

Transmitted by Amy McLaren

The information contained in this Summary Transmittal Form is provided by National Registered Agents, Inc. for informational purposes only and should not
be considered a legal opinion. It is the responsibility of the parties receiving this form to review the legal documents forwarded and to take appropriate ection.

ORIGINAL
Case 0:20-cv-60883-AHS Document 1-1 Entered on FLSD Docket 05/01/2020 Page 3 of 19

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IN THE CIRCUIT COURT OF THE 17™ JUDICIAL CIRCUIT
IN AND FOR BROWARD COUNTY, FLORIDA

KASHWISE GLOBAL FUNDING
SOLUTIONS INC. a CIVIL DIVISION
ae @ 3 ” CASE NO.:
Plaintiff ek” ~ it
VS. et 99 £ _TIME
RIOT BLOCKCHAIN INC.
Defendant ATIAL _______, BADGE?
/
CIVIL ACTION SUMMONS
THE STATE OF FLORIDA
To each Sheriff of the State:
‘YOU ARE COMMANDED to serve this Summons and a copy of the Complaint in this
\) lawsuit on the following Defendant:
\ RIOT BLOCKCHAIN INC.
c/o National Registered Agents, Inc.
701 S CARSON ST STE 200,
Carson City, NV, 89701, USA

or c/o the Secretary of State P.O. Box 6327, Tallahassee Fl 32314

IMPORTANT

A lawsuit has been filed against you. You have 20 calendar days after this summons is
served on you to file a written response to the attached complaint with the clerk of this court. A
phone call will not protect you, Your written response, including the case number given above
and the names of the parties must be filed if you want the court to hear your side of the case. If
you do not file your response on time, you may lose the case, and your wages, money and
Property may thereafter be taken without further waming from the Court. There are other legal
requirements. You may want to call an attomey right away. If you do not know an attorney, you
may call an attomey referral service or a legal aid office (listed in the phone book).

If you choose to file a written response yourself, at the same time you file your written
response with the Clerk of the Court, you must also mail or take a copy of your written response
to the “Plaintifi/Plaintiff's Attorney” named below.

TANTE

Usted ba sido demandado legalmente. Tiene 20 dias, contados a partir del recibo de esta
notificacion, para contestar la demanda adjunta, por escrito, y presentarla ante este tribunal. Una

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Case 0:20-cv-60883-AHS Document1-1 Entered on FLSD Docket 05/01/2020 Page 4 of 19

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llamada telefonica no lo protegera. Si usted desea que el tribunal considere su defensa, debe
presentar su respuesta por escrito, incluyendo el numero del caso y los nombres de las partes
jnteresadas. Si usted no contesta la demanda a tiempo, pudiese perder el caso pordria ser
despojado de sus ingresos y propiedades, o privado de sus derechos, sin previo aviso del tribunal.
Existen otros requisitos legales. Si lo desea, puede usted consultar a un abogado inmediatamente.
Sino conoce a un abogado, puede Mamar a una de las oficinas de asistencia legal (Legal Aid
Office) o un servicio de referencia de abogados (Attomey Referral Service) que aparecen en Is
guia telefonica.

Si desea responder a 1a demanda por su cuenta, al mismo tiempo en que presenta su
respuesta ante el tribunal, debera usted enviar por correo o entregar en la mano una copia de su
respuesta a la persona denominada abajo como “Plaintiff/Plaintiff's Attorney" (Demandante o
Abogado del Demandante) y presentar su contestacion a la demanda al Secretario del Juzgado.
La ubicacion central de la Oficina dei Secretario esta en el edificio de la Corte del Condado de
Dade. La direccion de la Corte, y de las sucursales aparecen en Ia lista siguiente para su
conveniencia:

Plaintiffs Attorney:

Law Offices of Victor K. Rones, P.A.
16105 NE 18 Ave,

North Miami Beach Fl, 33162

Tel: (305) 945-6522

Fax: (305) 944-2277

Primary Email: law@victoricronespa.com
By _s/Victor K. Rones

Victor K. Rones, Esquire
Fis Bar #245178

Clerk of The Circuit Court Serena
Oe Lean

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f Tels ;

As Deputy Clerk SRENDAD. F

If you are a person with a disability who needs any accommodation in order to participate in this
proceeding, you are entitled, at no cost to you, to the provision of certain assistance. Please
contact the ADA Coordinator, Broward County Courthouse Room 470, 201 S.E. sixth Street,
Fort Lauderdale, Florida 33301, 954-831-7721 at least 7 days before your scheduled court
appearance, or immediately upon receiving this notification if the time before the scheduled
appearance is less than 7 days; if you are hearing or voice impaired, call 711..

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IN THE CIRCUIT COURT OF THE 17™ JUDICIAL CIRCUIT
IN AND FOR BROWARD COUNTY, FLORIDA

KASHWISE GLOBAL FUNDING
SOLUTIONS INC. CIVIL DIVISION
. CASE NO.:
Plaintiff RATE TIME
VS.
RIOT BLOCKCHAIN INC. INITIAL BADGES
Defendant .
/
L ACTION SUMMONS
THE STATE OF FLORIDA
To each Sheriff of the State:

YOU ARE COMMANDED to serve this Summons and a copy of the Complaint in this
lawsuit on the following Defendant:

RIOT BLOCKCHAIN INC.

c/o National Registered Agents, Inc.
701 S CARSON ST STE 200,

Carson City, NV, 89701, USA

or c/o the Secretary of State P.O. Box 6327, Tallahassee Fl 32314

IMPORTANT
A lawsuit has been filed against you. You have 20 calendar days after this summons is

served on you to file a written response to the attached complaint with the clerk of this court. A
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and the names of the parties must be filed if you want the court to hear your side of the case. if
you do not file your response on time, you may lose the case, and your wages, money and
property may thereafter be taken without further warning from the Court. There are other legal
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response with the Clerk of the Court, you must also mail or take a copy of your written response
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IMPORTANTE
Usted ha sido demandado legalmente. Tiene 20 dias, contados a partir del recibo de esta

notificacion, para contestar la demanda adjunta, por escrito, y presentarla ante este tribunal, Una

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Case 0:20-cv-60883-AHS Document1-1 Entered on FLSD Docket 05/01/2020 Page 6 of 19

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Si no conoce a un abogado, puede llamar a una de las oficinas de asistencia legal (Legal Aid
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Si desea responder a la demanda por su cuenta, al mismo tiempo en que presenta su
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La ubicacion central de la Oficina del Secretario este en el edificio de la Corte del Condado de
Dade. La direccion de la Corte, y de las sucursales aparecen en fa lista siguiente para su
conveniencia:

Plaintiff's Attorney:
Law Offices of Victor K. Rones, P.A.
16105 NE 18 Ave,
North Miami Beach Fi, 33162
Tel: (305) 945-6522
Fax: (305) 944-2277
Primary Email: law@victorkronespa.com
By_s/Victor K, Rones
Victor K. Rones, Esquire
Fla Bar #245178

DATED ON APR 08 2020

By:

As DeputyClek Gren

If you are a person with a disability who needs any accommodation in order to participate in this
proceeding, you are entitled, at no cost to you, to the provision of certain assistance. Please
contact the ADA Coordinator, Broward County Courthouse Room 470, 201 S.E. sixth Street,
Rort Lauderdale, Florida 33301, 954-831-7721 at least 7 days before your scheduled court
appearance, or immediately upon receiving this notification if the time before the scheduled
appearance is less than 7 days; if you are hearing or voice impaired, call 711..
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IN THE CIRCUIT COURT OF THE 17™ JUDICIAL CIRCUIT
IN AND FOR BROWARD COUNTY, FLORIDA

KASHWISE GLOBAL FUNDING
" SOLUTIONS INC. , CIVIL DIVISION
. CASE NO.:
Plaintiff
vs.
RIOT BLOCKCHAIN INC.
Defendant
/
COMPLAINT

NOW COMES, the Plaintiff, Kashwise Global Funding Solutions, Inc:,
(“Kashwise”) by and through the undersigned counsel and sues the Defendant,
Riot Blockchain Inc. (“Riot”), and as grounds therefore would show as
follows: JURISDICTION/VENUE ALLEGATIONS

1. This is an action for damages in excess of $30,000.00 which is within
the jurisdiction of this Court.

2. The Plaintiff is a Florida Corporation doing business in Broward
County, Florida and is otherwise sui juris.

3. The Defendant, Riot, is a foreign corporation which does business
within the state of Florida for services provided by Kashwise within the State of
Florida.

GENERAL FACTUAL APPLICATIONS

4. In2018, Riot required funding in the nature of loan, investment and/or
funding for its business operations.

a. In November of 2018, the Chief Executive Officer, Chris Enesy,
met with Steven Kashian of Kashwise in order to secure the funding

described in this paragraph.
Page | 1
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b. Pursuant to the meeting between the parties, it was agreed that
upon Kashwise providing source of said funding, then and in that
event, Riot would pay unto Kashwise consideration in the amount of
$150,000 and 85,000 shares of the Defendant.

5. On November 28, 2018, in order to provide its financial documentation to
obtain such funding, Riot prepared and executed a Confidentiality and Non-
Disclosure Agreement with Kashwise which is attached as Exhibit 1.

6. In reliance of the oral agreement hereinbefore described, the Plaintiff
commenced its services and seeking to obtain funding from various sources for
Riot, including, but not limited to, Tangiers Capital and L2.

7. In December 2018, funding from a partnership of Tangiers Capital and
L2 were put together for Riot, resulting in the applicable funding occurring and
closing.

8. On January 30, 2019, the Plaintiff and Defendant confirmed the closing
and that amounts were due to Plaintiff for its services.

9. Pursuant to the confirmation between the parties, the Plaintiff submitted
the invoice attached as Exhibit 2 unto the Defendant.

10, Notwithstanding the foregoing, the Defendant failed to pay the Plaintiff
any consideration for the services performed by Plaintiff.

il. Plaintiff complied with all conditions precedent to the institution of
this action.

COUNT I: BREACH OF ORAL AGREEMENT

12. The allegations set forth under Jurisdiction/Venue Allegations and
General Factual Allegations.

13. Pursuant to the terms and provisions of the Oral Agreement, the
Plaintiff provided sources of funding which were acceptable and providing funding
unto Riot under the terms of the oral agreement.

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14. The Plaintiff, relied on the terms of the oral agreement, and fully
performed by providing sources of funding which were acceptable and providing
funding unto Riot under the terms of the oral agreement,

15. The Defendant agreed to pay Plaintiff in accordance with the terms of
the oral agreement but failed to pay the consideration agreed, thereby breaching
and defaulting under the terms of the oral agreement,

16. The Plaintiff has been damaged in the amount of $150,000 and 85,000
shares of stock of the Defendant, plus prejudgment interest which is the amount
that the Defendant had agreed to pay for the services performed.

WHEREFORE, the Plaintiff, Kashwise Global Funding Solutions, Inc
demands Judgment against the Defendant, Riot, for $150,000 and the value of
85,000 shares plus prejudgment interest costs and such other relief as this Court
may deem to be just and proper.

COUNT I: OPEN ACCOUNT

17. The allegations set forth under Jurisdiction/Venue Allegations and
General Factual Allegations. .

18. The Defendant owes the Plaintiff $150,000.00 plus the value of 85,000
Shares of the Defendant’s stock, that is due with interest since January 30. 2019,
according to the attached account (Exhibit 2).

WHEREFORE, the Plaintiff, Kashwise Global Funding Solutions, Inc
demands Judgment against the Defendant, Riot, for $150,000 and the value of
85,000 shares plus prejudgment interest costs and such other relief as this Court
may deem to be just and proper. .

COUNT Ill: QUANTUM MERUIT

19. The allegations set forth under Jurisdiction/Venue Allegations and.

General Factual Allegations.

-

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20. Pursuant to the request and authorization of the Defendant, the
Plaintiff provided valuable services of locating and introduction of financing
sources as set forth herein.

21. Said valuable services were provided pursuant to the request and
authorization of the Defendant, for which the valuable benefit of funding and
financing were obtained and provided.

22. Asaconsequence of the foregoing, Plaintiff, has suffered a detriment
in provide such services and is entitled to damages for the providing of such
services, .

23. The value of said services provided by Plaintiff, is the sum of
$150,000.00 and value of the 85,000.00 shares of stock of the Defendant at that
time, plus prejudgment interest.

WHEREFORE, the Plaintiff, Kashwise Global Funding Solutions, Inc
demands Judgment against the Defendant, Riot, for $150,000 and the value of
85,000 shares plus prejudgment interest costs and such other relief as this Court
may deem to be just and proper.

Date: April 7, 2020

Law Offices of Victor K. Rones, P.A.
Attomey for Piaintiff
16105 N.E. 18" Avenue
North Miami Beach, Florida 33162
Phone: G05) 945-6522
Email: law@victorkronespa.com
By: _s/Victor K. Rones
Victor K. Rones, Esquire
FBN: 245178

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__ Gase 0:20-cv-60883-AHS Document 1-1 Entered on FLSD Docket 05/01/2020 Page 11 of 19.

EXHIBIT 1
Case 0:20-cv-60883-AHS Document 1-1 Entered on FLSD Docket 05/01/2020 Page 12 of 19

CONFIDENTIALITY AND NON-DISCLOSURE AGREEMENT

ofthis ! Zfkayor IOV __, 2018, by and
a prmeipal plate of business at
end Riot Blockchain, Inc., a Nevada corporation

WHEREAS, both parties, for their mntual benefit, desire that certain confidential information be
disclosed for the objective of evaluating a working relatiouship. This confidential information should be protected
from unauthorized dissemination. Confidential Information will relate to either parties financials, corporate
documents, intellectual properties and pipeline products and their applications for both diagnostic tests and
therapeutics.

NOW, THEREFORE, both parties agree that any confidential information received by the
receiving party from the disclosing party shall be governed by the following tems and conditions:

Definit
Confidential Information" means any written or oral information or data with respect to the disclosing party and
any affiliates thereof, which may be furnished to the receiving party or its employees, attameys, accountants,
egents or representatives, including, without limitation, all scientific, technical, business, or financial, inchiding
projections, financial statements, standard operating procedures, market analyses, cost and expense data,
production data, pricing, trede seorets, intellectual properties and pipeline products and their applications for both
diagnostic tests and therapeutics, cli study design, procedures and operations, terms of agreements with
suppliers and/or customers, marketing information and reference lists. The receiving party agrees that all
Confidential Information shall be, and shall be treated as, proprietary and confidential whether or not the
Confidential Information is so marked or desipnated. Such confidential information shall not includé information
which:

(@) _is now or later made known to the public through no defiult by the Receiving party of its cbligations
under this Agreement;

(>) the Receiving party can show was in its possession prict to the earliest disclosure by the Disclosing party,
as evidenced by written documents in its filés;

(c) _ is rightfully received by the Receiving party from a third party having no obligation of confidentiality to
the Disclosing party;

(d) _ is independently developed by the Receiving party by persous who did not have access to Confidential
Information of the Disclosing party; or

(©) _ is disclosed by the Receiving party after receipt of written permission from the Disclosing party.

Handling of Confidential Information

The receiving party agrees to treat such Confidential Information as confidential for a period of three (3) years
from the date received, and will handle such Confidential Information with the same degree of care it uses to
handle its own confidential information. There shall be no restriction on the handling of information which is not
Confidential Information.

Limitation on Disclosure
A patty receiving Confidential Information from the other shall use its best efforts not to divulge, in whole or in
part, such Confidential Information to any third patty withont the pricr written consent of the transmitting patty,
Case 0:20-cv-60883-AHS Document 1-1 Entered on FLSD Docket 05/01/2020 Page 13 of 19

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but only to the extent and during the period of time that such Confidential Information is to be treated as
confidential under the foregoing provisions af this Agreement. Neither party shall be responsibte, however, for

Restiction on Trading

AS a result of the receiving party’s possession of Confidential Information, the receiving party agrees to refrain
from placing any trades in the stock or other securities of Rict st any time wien the receiving party is in possession
of any important information that may te deemed material inside information of Riot because the information has
not yet been disclosed to the public in a press release or Securities and Exchange Commission (SEC) filing. In
addition, the receiving party agrees to refrain from trading in the securities of other fires that are the subject of '
Riot’ Confidential Inforination, inchuding but not limited to those that are current or prospective customers or
suppliers of Riot and those with which Riot may currently be negotiating. The receiving party also agrees to refiain
from making any recommendations to its affiliates as to the purchase or sale of any of Riot’ securities while in
possession of material inside information,

Remedies
Each party agrees that its obligations hereunder are necessary and reasonable in order to protect the other party’s
business, and expressly agrees that monetary damages could be inadequate to compensate the other party for any

necessity
damages. The prevailing party in any action enforcing this Agreement shall be entitled to recover reasonable
attomey’s fees and litigation costs in addition to any other available relief,

Recipient agrees to vse Confidential Information only (i) to evaluate its interest in a workdng relationship with
the Disclosing party, and (i) to pursue the business cpportunity after the parties have agreed to do s0, and agrees
not to use Confidential information for any other purpose. Recipient further agrees not to export any
Confidential information in violation of applicable US. export laws and regulations.

Retuen of Information
Recipient shall deliver all such materials to the Disclosing Party upon the termination of this Agreement ar at
the request of the Disclosing Party, whichever is earlier.

Reanired Disclosure

If Recipient is required by subpoena, court order, goverment regulation or similar process to disclose any

Confidential Information, Recipient will prouptly notify Disclosing party in writing of such requirement to

provide Disclosing party en opportunity to seek an appropriste protective onder or other confidential trestment
erent.

tam,
This Agreement and the confidential obligations herein shall terminate three (3) years fiom the date of this
Agreement.

Goveming Law

This Agreement shall be construed and interpreted in accordance with the laws of the State of New York USA,
without regard to its principles concerning the application of laws of other jurisdictions. Recipient agrees to be
subject to the jurisdiction and venue of the courts within the State of New York USA.
Case 0:20-cv-60883-AHS Document 1-1 Entered on FLSD Docket 05/01/2020 Page 14 of 19

Mubral Disclaimer
No rights or obligations other than those expressly recited herein are to bei i is Agreement.
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Sone yor la ee eyes ny eet ow hy, of wih aye
tained by, which 1 G either party. Nothing contained herein construed
grant Recipient any immmnity orcense under any intellectual propesty vight of the Disslocian nasty ”
Gengrel ,
This Agreement chall not be assigned without the prior written consent of the ether party.

cancellation of any of te provisions ofthis Agreemeat hal be binding uals rade ia wefiag end clge dy

Hany portion of this Agreement is held to be invalid or nenforcesh! ¢ remaining piovisi i
Agreement hall remain in fill force ond effet without the bvalid or meniimeeabine ee ort

ieefemte warrant that the officials signing this Agreement have the power to do so on

This Agreement or any notice or other communication required or permitted to be given to cither party hereto

shall be deemed delivered if delivered: i i i i
oe deem roar vere by facsimile, courlet, express mail service, confirmed email delivery, ot

RIOT BLOCK CHAN, INC. Recipient

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EXHIBIT 2
Case 0:20-cv-60883-AHS Document 1-1 Entered on FLSD Docket 05/01/2020 Page 16 of 19

January 30, 2019

Riot Blockchaln. tne,
202 G* Street

Suite 401

Castle Rock, CO
$0104

RE: Invotee for Consulting & Advisury Services

Dear Sirs

On January 30, 2019 services were rendered for consulting & advisory to Riot Blockchain, Inc.
Please remit in the amount of One Hundred & Fifty Thousand $150,000 dollars cash &
Eighty-Five Thousand (85,000) shares of restricted stock fram RIOT.

Wite 000 Collars to the wiring { below & deposi restricted shares
at sfer to Kashwise Global Fun Inc.

Kashwise Global Funding, inc.
Tax 1D: XX-XXXXXXX

TD Bank
969 SE5*Ave .
Delray Beach, Fl.
33483

Kashwise Global Funding

ABA #067024822
Account # 4303729309

320 Allamands Or. Delray Beach, FL33483
Phone: 561-654-7350 Google: 561-666-7350 www.kashwiscinvestrents.com
Case 0:20-cv-60883-AHS Document 1.1 Entered on FLSD Docket 05/01/2020 Page 17 of 19

Kashwise Global Funding
Respectfully,
Steven G Kashian
President
920 Allamanda Dr. Delray Beach, FL33403

Phone: 562-654-7350 Googie: $61-G65-7350 waw.kachwiselnvestments.com
Case 0:20-cv-60883-AHS Document 1-1 Entered on FLSD Docket 05/01/2020 Page 18 of 19

Kashwise Global Funding, Ine.

Gtobal Funding Solutions skishian @kashwisetavestosents.com

Steven G. Kashian
Presifent & CEO

January 30, 2019

Riot Biockchain. Inc.
202 &* Street

Suite 401

Castle Rock, CO
80104

RE: invoice for Consulting & Adviscry Seruices

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iseG .
Tax (D: 47-10295448
7D Bank
569 SES" Ave

Delray Beach, FL
33483

Kashwise Giobal Funding

ABA # 067014822
Account # 4303729309

920 Allamanda Or. Oelray Geach, FL33483
Phone; §61-654-7350 Google: S61-666-7350 wa. kashwiselnvesthments.com
Case 0:20-cv-60883-AHS Document 1-1 Entered on FLSD Docket 05/01/2020 Page 19 of 19

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Kashwise Global F undin ry, Inc.
Investment Banking Giobal Funding Sototions ashwiiels om
Kashwise Giobal Funding
Respectfully,
er 6 Kashian
920 Allamanda Or. Delray Beach, Fl 33483

Phone: 562-654-7350 Googie: S61-665-7350 wwwkashwiselnvestmentscem

